     Case 3:17-cv-00939-WHA Document 589-4 Filed 06/12/17 Page 1 of 3
        HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

 1   MICHAEL A. JACOBS (CA SBN 111664)
     MJacobs@mofo.com
 2   ARTURO J. GONZÁLEZ (CA SBN 121490)
     AGonzalez@mofo.com
 3   ERIC A. TATE (CA SBN 178719)
     ETate@mofo.com
 4   RUDY Y. KIM (CA SBN 199426)
     RKim@mofo.com
 5   MORRISON & FOERSTER LLP
     425 Market Street
 6   San Francisco, California 94105-2482
     Telephone:    415.268.7000
 7   Facsimile:    415.268.7522

 8   Attorneys for Defendants
     UBER TECHNOLOGIES, INC.,
 9   OTTOMOTTO LLC, and OTTO TRUCKING LLC

10   KAREN L. DUNN (Pro Hac Vice)
     kdunn@bsfllp.com
11   HAMISH P.M. HUME (Pro Hac Vice)
     hhume@bsfllp.com
12   BOIES SCHILLER FLEXNER LLP
     1401 New York Avenue, N.W.
13   Washington DC 20005
     Telephone:   202.237.2727
14   Facsimile:   202.237.6131

15   Attorneys for Defendants
     UBER TECHNOLOGIES, INC.
16   and OTTOMOTTO LLC

17                                 UNITED STATES DISTRICT COURT
18                                NORTHERN DISTRICT OF CALIFORNIA
19                                       SAN FRANCISCO DIVISION
20   WAYMO LLC,                                              Case No.      3:17-cv-00939-WHA
21                          Plaintiff,                       SUPPLEMENTAL DECLARATION
                                                             OF ESTHER KIM CHANG IN
22          v.                                               SUPPORT OF DEFENDANTS’
                                                             SUR-REPLY TO PLAINTIFF
23   UBER TECHNOLOGIES, INC.,                                WAYMO LLC’S MOTION FOR
     OTTOMOTTO LLC; OTTO TRUCKING LLC,                       PRELIMINARY INJUNCTION
24
                            Defendants.                      Date:    May 3, 2017
25                                                           Time:    7:30 a.m.
                                                             Ctrm:    8, 19th Floor
26                                                           Judge:   The Honorable William Alsup
27                                                           Trial Date: October 2, 2017
28         UNREDACTED VERSION OF DOCUMENT SUBMITTED UNDER SEAL

     SUPPLEMENTAL CHANG DECL. ISO DEFENDANT’S SUR-REPLY TO WAYMO’S PRELIMINARY INJUNCTION MOTION
     Case No. 3:17-cv-00939-WHA
     sf-3762057
     Case 3:17-cv-00939-WHA Document 589-4 Filed 06/12/17 Page 2 of 3
        HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

 1          I, Esther Kim Chang, declare as follows:

 2          1.      I am an attorney with the law firm of Morrison & Foerster LLP. I am a member in

 3   good standing of the Bar of the State of California. I make this declaration based on personal

 4   knowledge and, if called as a witness, I could and would testify competently to the matters set

 5   forth herein. I make this declaration in support of Defendant’s Sur-Reply to Plaintiff’s Motion

 6   for Preliminary Injunction.

 7          2.      On April 16, 2017, my colleague Arturo Gonzalez offered Waymo LLC the

 8   opportunity to inspect the components of Spider on April 18 or April 19. Attached hereto as

 9   Exhibit 9 is a true and correct copy of the email from Mr. Gonzalez to Waymo counsel, dated

10   April 16, 2017. Waymo counsel did not respond. On April 17, all available components of

11   Spider were transported to the offices of Morrison & Foerster. That day, Mr. Gonzalez again

12   offered the inspection of the components of Spider. Attached hereto as Exhibit 10 is a true and

13   correct copy of the email from Mr. Gonzalez to Waymo counsel, dated April 17, 2017. Waymo

14   counsel finally came to inspect the components of Spider on April 19. That same day,

15   Defendants produced to Waymo a hard copy production of the pictures taken at the inspection,

16   having Bates number UBER00011629 to UBER00011689.

17          3.      Attached hereto as Exhibit 11 is a true and correct copy of Exhibit 1031 to the

18   deposition of Daniel Chu on April 3, 2017, produced by Waymo in connection with his

19   deposition. This document has Bates number WAYMO-UBER-00004175 to WAYMO-UBER-

20   00004194. Exhibit 11 is a report dated March 19, 2015, which concludes that

21                                                        (WAYMO-UBER-00004183) and asks

22                                                                    (WAYMO-UBER-00004186).

23          4.      Mr. Chu’s deposition testimony on April 3, 2017, confirms that

24

25

26

27            (Chu Dep. at 7:8-15; 8:19-23; 10:24-11:7; 11:23-12:7; 25:5-25; and 40:11-19.) Attached

28

     SUPPLEMENTAL CHANG DECL. ISO DEFENDANT’S SUR-REPLY TO WAYMO’S PRELIMINARY INJUNCTION MOTION
     Case No. 3:17-cv-00939-WHA                                                                        1
     sf-3762057
     Case 3:17-cv-00939-WHA Document 589-4 Filed 06/12/17 Page 3 of 3
        HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

 1   hereto as Exhibit 12 is a true and correct copy of excerpts of the deposition transcript of Mr. Chu,

 2   dated April 3, 2017.

 3          5.      Attached hereto as Exhibit 13 is a true and correct copy of excerpts of the

 4   deposition of Gary Brown, dated March 24, 2017.

 5          6.      Attached hereto as Exhibit 14 is a true and correct copy of excerpts of the

 6   deposition of Daniel Gruver, dated April 20, 2017.

 7          7.      Attached hereto as Exhibit 15 is a true and correct copy of excerpts of the

 8   deposition of Gregory Kintz, dated April 26, 2017.

 9          8.      Attached hereto as Exhibit 16 is a true and correct of a TechCrunch article titled,

10   “A Waymo Filing Leaks LiDAR Tech Details in Uber Lawsuit,” dated April 26, 2017.

11          9.      Attached hereto as Exhibit 17 is a true and correct copy of an IEEE Spectrum

12   article titled, “Waymo vs. Uber: 8 Things I Learned from Anthony Levandowski Taking the

13   Fifth,” dated April 26, 2017.

14

15          I declare under the penalty of perjury under the laws of the United States that the

16   foregoing is true and correct. Executed this 28th day of April, 2017, in San Francisco, California.

17
                                                                  /s/ Esther Kim Chang
18                                                                 ESTHER KIM CHANG
19

20

21                             ATTESTATION OF E-FILED SIGNATURE

22          I, Arturo J. González, am the ECF User whose ID and password are being used to file this

23   Declaration. In compliance with General Order 45, X.B., I hereby attest that Esther Kim Chang

24   has concurred in this filing.

25   Dated: April 28, 2017                                      /s/ Arturo J. González
                                                                    Arturo J. González
26

27
28

     SUPPLEMENTAL CHANG DECL. ISO DEFENDANT’S SUR-REPLY TO WAYMO’S PRELIMINARY INJUNCTION MOTION
     Case No. 3:17-cv-00939-WHA                                                                             2
     sf-3762057
